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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

    TIMOTHY KING, et al.,
    Plaintiffs,

    v.
                                                          Case No. 20-cv-13134
    GRETCHEN WHITMER, in her                              Hon. Linda V. Parker
    official capacity as Governor of the
    State of Michigan, et al.,
    Defendants,

    and

    CITY OF DETROIT,
    Intervenor Defendant.


    PLAINTIFFS’ EX PARTE MOTION TO FILE EXTENDED BRIEF


         Pursuant to Local Rule 7.1(d)(3), Plaintiffs requests leave to file an extended

brief, 62 pages, in response to Plaintiffs’ Opposition to State Defendants’ Motion for

Sanctions under 28 U.S.C. § 1927, (“Sanctions Motion”). State Defendants Motion,

ECF 105, constituted 45 pages plus exhibits, and it is respectfully requested that we

submit additional pages in support of Plaintiffs’ Opposition to State Defendants’

Sanctions Motion.




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                     BRIEF IN SUPPORT OF PLAINTIFFS’

             EX PARTE MOTION TO FILE EXTENDED BRIEF

       On January 28, 2021, State Defendants filed a 45 page brief in support of their

Sanctions Motion. That motion, and its brief in support, raise a number of issues that

need to be fully rebutted. While Plaintiffs seek to be concise, to thoroughly respond

to the factual and legal issues raised in the Sanctions Motion, Plaintiffs will need to

exceed the 25 page limitation. Local Rule 7.1(d)(3) specifically provides for this Court

extending the page limitation on briefing in appropriate circumstances, such as this.

See Elhady v. Bradley, 438 F. Supp. 3d 797, 821 n. 11 (E.D. Mich. 2020). The motion to

file an extended brief, Plaintiffs respectfully request be granted.


                                          Respectfully submitted,

                                          _/s/_Stefanie Lynn Junttila
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                          CERTIFICATE OF SERVICE

       I hereby certify that on February 11, 2020, a true and genuine copy of

theforegoing was served via electronic mail by the Court’s CM/ECF system to

all counsel of record:


_/s/_Stefanie Lynn Junttila
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